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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                   Case No. 4:12-cr-00303-BLW-2
                      Plaintiff,
                                                   REPORT AND
        v.                                         RECOMMENDATION

 CHASE R. MITCHELL,

                      Defendant.



       On October 17, 2013, Defendant Chase R. Mitchell appeared before the

undersigned United States Magistrate Judge to enter a change of plea pursuant to a

written plea agreement (Dkt. 48). The Defendant executed a written waiver of the right to

have the presiding United States District Judge take his change of plea. Thereafter, the

Court explained to the Defendant the nature of the charges contained in the Indictment

(Dkt. 1), the maximum penalties applicable, his constitutional rights, the impact that the

Sentencing Guidelines will have, and that the District Judge will not be bound by the

agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the change of plea hearing and having inquired of the

Defendant, his counsel, and the government, finds that there is a factual basis for the

Defendant’s guilty plea, that he entered it voluntarily and with full knowledge of the

consequences, and that the plea should be accepted.
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                                  RECOMMENDATION

       Based upon the foregoing, the Court being otherwise fully advised in the premises,

the Court hereby RECOMMENDS that:

       1)       The District Court accept Defendant Chase R. Mitchell's plea of guilty to

Count Two of the Indictment, and that a pre-sentence report be ordered.

       2)       The District Court GRANT, at the appropriate time, the United States’

motion to dismiss Count One of the Indictment as to Defendant Mitchell.

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.

                                                   DATED: October 17, 2013.




                                                   Honorable Larry M. Boyle
                                                   United States Magistrate Judge
